                                                                                                                                                            Page 1 of 72
                    Case 19-14299-elf
      Fill In this information                   Doc
                               to Ideitify the caso:                  28-1 Filed 01/21/20 Entered 01/21/20 17:32:36                                                    Desc
                                                                          Exhibit A Page 1 of 44
      Debtor 1             Robert J. Kocsis


      Debtor 2
     (Spouse. If filing)


      United States Bankruptcy Court for ttie; Eastern District o( Pennsylvania fPtilladelphia)
                                                                                                 (Slate)
      Case number          19-t4299




     Official Form 410

 Proof of Claim                                                                                                                                                                       04/19


     Read ttio Instructions before fill ng out ttils form. This form Is for making a claim for payment in a bankruptcy case. Do not use this form to
     make a request for payment of iin administrative expense. Make such a request according to 11 U.S.C.§ 503.
     Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
     documents that support the claim, such as promissoty notes, purchase orders, invoices. Itemized statements of running accounts, contracts,judgments,
     mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
     explain in an attachment.
     A person who files a fraudulent claim could be fined up to $500,000. imprisoned for up to 5 years, or both. 18 U.S.C.§§ 152.157, and 3571.
     Fill In all the Information about fie claim as of the date the case was filed. That date Is on the notice of bankruptcy(Form 309)that you received.


                 Identify the Claim


1. Who Is the current
                                         Anlhliim. LLC
   creditor?                             Name of Itie current creditor (Itie person or entity to be paid for this claim)

                                         Oltiei names the creditor used with tlie debtor


2. Has this claim been                   IS      No
      acquired from                      □       Yes. From whom?
      someone else?

      Where should notices               Whe re should notices to the creditor be sent?                                    Where should payments to the creditor be sent? (If
      and payments to the                                                                                                  different)
      creditor be sent?

                                          t.and Homo Financial Services. Inc.                                              Land Home Financial Sen/ices. Inc.
      Federal Rule of
                                          Namt                                                                             Name
      Bankruptcy Procedure
      (FRBP) 2002(g)                                                                                                       PQ BOX 25164
                                          3611 South Harbor Blvd Suite 100
                                          NumI er         Street                                                           Number          Street


                                          Santg* Ana. CA 92704                                                             Sanla Ana. CA 92799-5164
                                          City                               State                   ZIP Code              City                              State                    ZIP Code


                                          Contrct phone    877-5S7-9042                                                    Contact phone    877-5S7-9042
                                          Contact email            LH.Docs(3>lhfs.com                                      Contact email            LH.Docs®lhfs.com
                                          Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4.    Does this claim amend               (HI Mo
      one already filed?                  □ Yes. Claim number on court claims registry (if known)                                                       Filed on
                                                                                                                                                                     MM   / DD     / YYYY



5. Do you know If anyone                  ^ fto
      else has filed a proof              q gg yy(,o made the earlier filing?
      of claim for this claim?




                                                                                                                      IS
                                                                                     EXHIBIT "A

     Official Form 410                                                                           IVMI      WIWIIM                                                                page 1
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                            Exhibit A Page 2 of 44
                Case 19-14299-elf Claim 3-1                     Filed 09/16/19 Desc Main Document                                 Page 2 of 72
                   Case 19-14299-elf            Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36                                         Desc
                                                        Exhibit A Page 3 of 44
     Part 2:    Give Information AI>out the Claim as of the Oato the Case Was Filed


6. Do you have any number □ No
      you UM to identify the    ^         |_gg( ^ digits of the debtor's account or any number you use to identify the debtor: 0238
      debtor?




7.    How much is the claim?         S61.277.03                           _. Does this amount include interest or other charges?
                                                                            □ No
                                                                            IE Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the    Exanples; Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card,
      claim?
                               Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                               Limit disclosing information that is entitled to privacy, such as health care information.

                               Money Loaned



9. is ail or part of the claim □ Mo
      secured?                      y^g       g|gjg, jg secured by a lien on property.
                                          Nature of property;
                                          13 Real estate. 1106 Passer Road Coooersburo. PA 16036
                                                           If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim Attachment
                                                           (Official Form 410-A) with this Proof of Claim.
                                          □ Motor vehicle
                                          □ Other. Describe:



                                          Basis for perfection:         Mortoaoe I Deed of Trust
                                          Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                          example, a mortgage, lien, certificate of title, financing statement, or other document that sfiows the lien has
                                          been filed or recorded.)



                                          Value of property:                             $-
                                          Amount of the claim that Is secured:           $61.277.03


                                          Amount of the claim that Is unsecured: $                                (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                          Amount necessary to cure any default as of the date of the petition:              $61.277.03


                                          Annual Interest Rate (when case was filedVI.3750       %
                                          13 Fixed
                                          □ Variable



10. is this claim based on a   ^ f!o
      Io9So7
                               □ > es. Amount necessary to cure any default as of the date of the petition.                 $_


11. is this claim subject to a ^ Mo
      right of setoff?         _ ^
                               □ ^ es. Identify the properly:




     Official Form 410                                                       Proof of Claim                                                     page 2
                Case 19-14299-elf Claim 3-1 Filed 09/16/19 Desc Main Document                                                                    Page 3 of 72
                    Case 19-14299-elf                 Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36                                                   Desc
                                                              Exhibit A Page 4 of 44
12. Is all or part of the claim ^    No
   entitled to priority under
    11 U.S.C.§ 507(a)?          □ Yes. Check one:                                                                                                     Amount entitled to priority
    A claim may be partly
    priority and partly           □ Domestic support obligations (Including alimony and child support) under
    nonpriority. For example.        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                       $
      In some categories, the
      law limits the amount             □ Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
      entitled to priority.              '   personal, family, or household use. 11 U.S.C. § 507(a)(7).                                           $

                                        (ID Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                             bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $
                                             11 U.S.C. § 507(a)(4).

                                        □ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                   $

                                        □ Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

                                        □ Other. Specify subsection of 11 U.S.C. § 507(a)(              ) that applies.

                                             Amounts are subject to adjustment on 4/01122 and every 3 years after that for cases begun on or after the date of adjustment.




 Part 3:        sign Below

The person completing           Check the appropriate box:
this proof of claim must
sign and date It.               □ I am the creditor.
FRBP 9011(b).
                                (El I am the creditor's attorney or authorized agent.
If you file this claim
electronically, FRBP            □ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts    □ I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
to establish local rules
specifying what a signature
Is.                             I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount
                                of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be
fined up to $500,000,           I hav3 examined the information in this Proof of Claim and have a reasonable belief that the Information Is true
Imprisoned for up to 5          and («rrect.
years, or both.
18U.S.C. §§152,157, and         I declare under penalty of perjury that the foregoing Is tnie and correct.
3571.

                                Executed on date           09/16/2019
                                                           MM / DO     /   YYYY




                                   /s/ Lisa Cancanon
                                         Signature


                                Print the name of the person who is compieting and signing this claim:


                                Name                    Lisa Cancanon.
                                                        First name                            Middle name                            Last name


                                Title                   Attorney for Land Home Financial Services

                                Comr any                Weinslein & Rilev. P.S.
                                                        Identify the corporate servicer as the company If the authorized agent is a servicer.

                                Address                 11101 West 120th Avenue #280
                                                        Number             Street


                                                        Broomfield. CO 80021
                                                        City                                                         State          ZIP Code


                                Contact phone           3035398600                                                   Email          lisaeOw-leoaLcom




 Official Form 410                                                                     Proof of Claim                                                           page 3
                   Mortgage Proof off Claim Attachment                                                                                                                                                                                        (12/15)
                  If you file a claim secured by a security interest in the debtor's principal residence, you must use this form as an attachment to your proof of claim. See separate instructions.
                  Part 1; Mortgage and Case Information                                           Part 2: Total Debt Calculation                       Part 3;Arrearage as of Date of the Petition             Part 4: Monthly Mortgage Paymeht
                  Case number                                                                     Principal balance:                                   Principal & interest due:                               Principal &                                 O
Desc




                                                                  19-14299                                                         $21.327.52                                             $27.257.73           interest:              $359.36
                                                                                                                                                                                                                                                          (D
                  Debtor 1:                                       Robert J. Kocsis                Interest due:                    S5.930.21           Prepetition fees due:              $8.469.53            Monthly escrow: $o.oo
                                                                                                                                                                                                                                                          (O
                                                                                                                                                       Escrow deficiency for funds                             Private mortgage                              I
                   Debtor 2:                                                                      Fees, costs due:                                                                                                                    $0.00
Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36




                                                                                                                                    $8.469.53          advanced:                          $25.549.77           insurance:
                                                                                                  Escrow deficiency for                                                                                        Total monthly                              (O
                  Last 4 digits to identify: 0238                                                                                                      Projected escrow shortage:                                                                          CO
                                                                                                  funds advanced:                  $25.549.77                                             so.oo                payment:               $359.36
                  Creditor:                                       Anthium. LLC                    Less total funds on hand:        $0.00               Less funds on hand:                SO.OO
                                                                                                                                                                                                                                                          0
                 Servicer                                         Land Home Financial             Total debt:                                          Total prepetition arrearage:
                                                                  Services. Inc                                                    $61.277.03                                             $61.277.03                                                       s>
                                                                                                                                                                                                                                                           3'
                 Fixed accrual/daiiy                                                                                                                                                                                                                       CO
                 simple interest/other:                           Fixed                                                                                                                                                                                     1
                                                                                                                                                                                                                                                           i-»
        Exhibit A Page 5 of 44




                 Part 5:Loan Payment History from First Date of Defoult
                                                                                                                                                                                                                                                    1     i iLiit.
                                                                   Account Activity                                                   How Funds Were Applied/Amount Incurred                      Balance After Amount Received or Incurred                n
                                                                                                                                                                                                                                                           lU.
                  A.                                B.             C.         D.         E.              F.            G.             H.          1.         J.         K.           I_           M.           N.          O.         P.
                                                                                                                                                                                                                                                           O
                  Date                              Contractual    Funds      /^ount     Oescription     Contractual   Prin, Int&     Amount      /Vmount    Amount     Amount       Unapplied    Principal    Accrued     Escrow     Fees/       Unappliad
                                                    payment        received   Incun'ed                   due date      esc past due   to          to         to         to fees or   funds        balance      interest    balance    Charges    funds ^
                                                    amount                                                             t>alance       principal   interest   escrow     charges                                balance                balance     balanc^
                 04/01/2012                         $917.21                              Installment     04/01/2012    $917.21                                                                    $27,631.65               •$112.93   $0.00      •$3.00 S
                                                                                         Duo
                 04/02/2012                                        $917.21               payment         05/01/2012    $0.00          $810.71     $106.50                                         $26,820.94               -$112.93   $0.00      •$3.00 O
                 05/01/2012                         $917.22                              Installment                   $917.22                                                                    $26,820.94               •$112.93   $0.00      -$3.00 ^
                                                                                         Due
                 06/01/2012                         $917.22                              Installment                   $1,834.44                                                                  $26,820.94               -$112.93   $0.00      •$3.00 d)
                                                                                         Due                                                                                                                                                              3
                 06/27/2012                                        $265.00               Charge off                    $1,834.44                                        $265.00                   $26,820.94               •$112.93 •$265.00     •$3.00 ^
                 07/01/2012                         $917.22                              Installment                   $2,751.66                                                                  $26,820.94               -$112.93   -$265.00   •$3.00 c
                                                                                         Due
Case 19-14299-elf




                                                                                                                                                                                                                                                          3
                                                                                                                                                                                                                                                          (V
                 07/25/2012                                                   $2,552.0   Escrow                        $2,751.66                                                                  $26,820.94                          -$265.00   •$3.00 3
                                                                                                                                                                                                                                                          r-*
                                                                              4          DIsbursemen                                                         $2,552.0                                                      $2,664.9
                                                                                         t- School Tax                                                       4                                                             7
                08/01/2012                          $917.22                              Installment                   $3,668.88                                                                  $26,820.94                          -$265.00   •$3.00 Tl
                                                                                         Due                                                                                                                               $2,664.9                     (Q
                                                                                                                                                                                                                           7                              (D
                 09/01/2012                         $917.22                              Installment                   K586.10                                                                    $26,820.94                          -$265.00   •$3.00^
                                                                                                                                                                                                                                                       o
                                                                                         Due                                                                                                                               $2,664.9
                                                                                                                                                                                                                           7
                                                                                                                                                                                                                                                          ro
                 10/01/2012                         $917.22                              Installment                   $5,503.^                                                                   $26,820.94                          •$265.00   -$3.00
                                                                                         Due                                                                                                                               $2,664.9
                                                                                                                                                                                                                           7
                 11/01/2012                         $359.37                              Installment                   $5,86Z69                                                                   $26,820.94                          -$265.00   -$3.00
                                                                                                                                                                                                                           $2,664.9
                                    Mortgage Proof of Claim Attachment: Additional Page                                                                                                                                                   (12/15)
                Case number                                            19-14299
                 Debtor 1:                                             Robert J. Kocsis
                                                                                                                                                                                                                                                             O
Desc




                Part 5:Loan Payment History from First Date of Defeult
                                                                                                                                                                                                                                                         -e-
                                                                  Account Activity                                                   How Funds Were Applied/Amount Incurred                      Balance After Amount Received or Incurred
                A                                   B.            C.          D.        E.                F.          6,             H.          I.          J.         K.           L.          M.           N.            o.        P.            a
                 Date                               Contractual   Funds       /Vnount Description         Contractual Prin, int &    Amount      Amount      Amount     Amount       Unapplied   Principal    Accrued Escrow Fees /                 Unappll^
Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36




                                                    payment       received    incurred                    due date      esc past due to          to          to         to fees or   funds       balance      interest      balance Charges         funds |\)
                                                    amount                                                              balance      principal   interest    escrow     charges                               balance                 balance balanc^
                                                                                                                                                                                                                     . .              ■                       I
                                                                                                                                                                                                                                                             (T)
                                                                                          Due                                                                                                                              7                                 =;;
                12/01/2012                          $359.37                               Installment                   $6,222.06                                                                $26,820.94                           -$265.00      -$3.00 ^
                                                                                          Due                                                                                                                              $2,664.9
                                                                                                                                                                                                                           7                                 E
                01/01/2013                          $359.37                               Installment                   $6,581.43                                                                $26,820.94                           -$265.00      -$3.00 ^
                                                                                                                                                                                                                                                             CO
                                                                                          Due                                                                                                                              $2,664.9                           ■
                                                                                                                                                                                                                           7
        Exhibit A Page 6 of 44




                01/01/2013                                                    $90.00      Fee- Property                 $6,581.43                                       -$90.00                  $26,820.94                           -$175.00      -$3.00 ^
                                                                                          Inspection                                                                                                                       $2,664.9
                                                                                                                                                                                                                           7                                 (D
                                                                                                                                                                                                                                                             Q-
                01/01/2013                                                   / $691.03 ^Escrow                          $6,581^13                           ^691.03                              $26,820.94                           -$175.00      -$3.00 O
                                                                                          Disbursemen                                                                                                                      $3,356.0
                                                                                          t- Hazard                                                                                                                        0
                                                                                                                                                                                                                                                             O)
                                                                                          Insurance
                01/01/2013                                                    $25.00      Escrow                        $6,581.43                            -$25.00                             $26,820.94                           -$175.00      -$3.00'O
                                                                                          Disbursemen                                                                                                                      $3,381.0
                                                                                          t-Tax                                                                                                                            0                                 D
                02/01/2013                          $359.37                               Installment                   $6,940.80                                                                $26,820.94                           -$175.00      -$3.00 W
                                                                                                                                                                                                                                                             o
                                                                                          Due                                                                                                                              $3,381.0
                                                                                                                                                                                                                           0                                 K
                                                                                                                                                                                                                                                             p*
                02/01/2013                                                    $90.00      Fee- Property                 $6,940.80                                       -$90.00                  $26,820.94                           •$85.00       -$3.00 5"
                                                                                          Inspection                                                                                                                       $3,381.0                          o
                                                                                                                                                                                                                           0                                 o
                02/01/2013                                                    $253.75     ^Escrow                       $6,940.80                            -$253.75                            $26,820.94                           -$85.00       -$3.00 C
Case 19-14299-elf




                                                                             ^         > Disbursemen                                                                                                                       $3,634.7
                                                                                                                                                                                                                           5                                 0)
                                                                                         t- Hazard
                                                                                                                                                                                                                                                             3
                                                                                          Insurance
                 03/01/2013                         $359.37                               Installment                   $7,300.17                                                                $26,820.94                           -$85.00       -$3.00
                                                                                          Due                                                                                                                              $3,634.7                          TO
                                                                                                                                                                                                                           5                                 (U
                                                                                                                                                                                                                                                         'n
                 03/01/2013                                                   $45.00      Fee- Property                 $7,300.17                                        -$45.00                 $26,820.94                           -$40.00       -$3.00 f
                                                                                          Inspection                                                                                                                       $3,634.7                          cn
                                                                                                                                                                                                                           5                                 o
                 03/01/2013                                                   $253.75     Escrow                        $7,300.17                            -$253.75                            $26,820.94                           -$40.00       -$3.00
                                                                                                                                                                                                                                                             ho
                                                                                          DIsnursemen                                                                                                                      $3,888.5
                                                                                          t-FP                                                                                                                             0
                                                                                          Insurance
                     Official Form410A                                                                               Mortgage Proof of Claim Attachment
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                            Exhibit A Page 7 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                            Exhibit A Page 8 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                            Exhibit A Page 9 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 10 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 11 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 12 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 13 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 14 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 15 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 16 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 17 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 18 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 19 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 20 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 21 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 22 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 23 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 24 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 25 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 26 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 27 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 28 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 29 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 30 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 31 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 32 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 33 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 34 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 35 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 36 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 37 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 38 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 39 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 40 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 41 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 42 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 43 of 44
Case 19-14299-elf   Doc 28-1 Filed 01/21/20 Entered 01/21/20 17:32:36   Desc
                           Exhibit A Page 44 of 44
